                   Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 1 of 7
                                   United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 20-124-BLG-SPW-l
 MITCHELL JAMES CHANDLER                                                   USM Number: 08415-046
                                                                           Gillian E. Gosch
                                                                           DefendatU's Atlorncy



THE DEFENDANT:
      pleaded guilty to count                            1 of the Indictment
      pleaded nolo contendere to count(s) which
 □
      was accepted by the court
      was found guilty on count(s) after a plea of
 □
      not guilty

The defendant is adjudicated guilty of these offenses:
 Title <& Section I Nature of Offense                                                             Offense Ended   Count
 I8:75IA.F Escape                                                                                 04/03/2020




The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 □    The defendant has been found not guilty on count(s)
 □    Count{s)     □ is    □ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
 material changes in economic circumstances.


                                                             May 5, 2021
                                                             Dale of Imposition ofJudgment




                                                            '^gnature of Judge

                                                             Susan P. Watters
                                                             United States District Judee
                                                             Name and Tille of Judge-

                                                             May 5,2021
                                                             Date
Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 2 of 7
Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 3 of 7
Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 4 of 7
Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 5 of 7
Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 6 of 7
Case 1:20-cr-00124-SPW Document 23 Filed 05/05/21 Page 7 of 7
